UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

18-CR-834-04 (PAE)
-/-
SCHEDULING ORDER

DANIEL HERNANDEZ,

Defendant.

PAUL A. ENGELMAYER, District Judge:
The Court schedules a conference for the purpose of arraigning the defendant on multiple

supervised release violations specifications on April 21, 2025 at 10:30 a.m., in Courtroom

1305 of the Thurgood Marshall Courthouse, 40 Foley Square, New York, N.Y.

SO ORDERED.

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PAUL A. ENGEL AYER
United States District ae

Dated: April 11, 2025
New York, New York
